                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

__________________________________________________________________


STEPHEN SAMPLES,                    )
on behalf of himself and            )
all others similarly situated,      )
                                    )
                                    )
      Plaintiff,                    )
                                    )
      v.                            ) Civil Action No. 3:11-0384
                                    )
                                    )
ACCRETIVE HEALTH, INC., d/b/a       )
MEDICAL FINANCIAL SOLUTIONS; )
GREG KAZARIANARIAN, individually; )
MARY TOLAN, individually;           )
                                   )
                                    )
      Defendant.
__________________________________________________________________

                       NOTICE OF SETTLEMENT
__________________________________________________________________

        NOTICE IS HEREBY GIVEN that Plaintiff has filed with the Clerk of the

District Court of Tennessee, Plaintiff’s Notice of Settlement with all claims pending

having been settled. Plaintiff hereby respectfully requests that this Court allow sixty (60)

days within which to complete the settlement and to file a Dismissal in this matter. This

Court shall retain jurisdiction over this matter until fully resolved.


                Respectfully submitted this 30th day of June, 2011

                                               By: Paul K. Guibao
                                               Paul K. Guibao
                                               Attorney for Plaintiff
                                               Weisberg & Meyers, LLC



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Notice Filed electronically on this 30th day of June, 2011, with:

United States District Court CM/ECF system



s/Jessica DeCandia
Jessica DeCandia




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